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                                                                     5                       IN THE UNITED STATES DISTRICT COURT
                                                                     6                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                           IN RE: CATHODE RAY TUBE (CRT)         )    MDL No. 1917
                                                                     9     ANTITRUST LITIGATION                  )
                                                                                                                 )    Case No. C-07-5944-SC
                                                                     10                                          )
                                                                                                                 )    ORDER GRANTING INDIRECT
United States District Court
                           For the Northern District of California




                                                                     11                                          )    PURCHASER PLAINTIFFS'
                                                                                                                 )    ADMINISTRATIVE MOTION TO
                                                                     12                                          )    SEAL DOCUMENTS PURSUANT TO
                                                                                                                 )    CIVIL LOCAL RULES 7-11 and
                                                                     13                                          )    79-5(d)
                                                                     14
                                                                     15        On August 21, 2013, the Indirect-Purchaser Plaintiffs filed an
                                                                     16   Administrative Motion to Seal Documents Pursuant to Civil Local
                                                                     17   Rules 7-11 and 79-5(d).     ECF No. 1857 (moving to seal errata to the
                                                                     18   reply brief in support of the Indirect-Purchaser Plaintiffs' motion
                                                                     19   for class certification).     Defendants filed the appropriate
                                                                     20   declarations.    ECF Nos. 1872, 1874.      For good cause shown, the
                                                                     21   motion is GRANTED.
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                                                                     23        IT IS SO ORDERED.
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                                                                     25        Dated:     August 29, 2013
                                                                     26                                        UNITED STATES DISTRICT JUDGE
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